AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Middle District
                                                     __________       of North
                                                                District       Carolina
                                                                          of __________

 FOOD LION, LLC and MARYLAND AND VIRGINIA                              )
      MILK PRODUCERS COOPERATIVE                                       )
               ASSOCIATION,                                            )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 1:20-cv-442
                                                                       )
         DAIRY FARMERS OF AMERICA, INC.,                               )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) DAIRY FARMERS OF AMERICA, INC.
                                           c/o Corporation Service Company
                                           251 Little Falls Drive
                                           Wilmington, DE 19808




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Ryan G. Rich                                  Jason D. Evans
                                           Hunton Andrews Kurth LLP                  Troutman Sanders LLP
                                           Bank of America Plaza                     301 S. College Street, 34th Floor
                                           101 South Tryon Street, Suite 3500        Charlotte, NC 28202
                                           Charlotte, NC 28280                       Attorneys for Plaintiff Maryland and Virginia
                                           Attorneys for Plaintiff Food Lion, LLC    Milk Producers Cooperative Association

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT


Date:
                                                                                             Signature of Clerk or Deputy Clerk
                                                                                                                  May 19, 2020


    /s/ Jamie L. Sheets


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 Civil Action No. 1:20-cv-442

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




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